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             EXHIBIT C
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                              Case 6:18-cv-06649          and nearly killed,
                                                        Document          1-3RIT student
                                                                                 Filed defies odds to make
                                                                                         09/12/18      Pagea new
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   Hit by 2 cars and nearly killed, RIT student defies odds to
   make a new life
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